           Case 5:20-cv-01280-SVW-KK Document 166 Filed 10/26/21 Page 1 of 2 Page ID #:2441



                      1

                      2

                      3

                      4

                      5

                      6

                      7

                      8                            UNITED STATES DISTRICT COURT
                      9                      FOR THE CENTRAL DISTRICT OF CALIFORNIA
                 10                                         EASTERN DIVISION
                 11
                           LETHIA DAVIS, individually and          Case No. 5:20-CV-01280-SVW-KK
                 12        D/B/A BEAUTIFUL MINDS                   Assigned to District Judge:
                           ENTREPRENEURSHIP                        Hon. Stephen V. Wilson
                 13        PROGRAM and BEAUTIFUL                   Courtroom: 10A
                           MINDS ENTREPRENEURSHIP,
                 14        INC.,                                   Assigned Discovery:
                                                                   Magistrate Judge: Hon. Kenly Kiya Kato
                 15                           Plaintiff,
                                     v.                            JUDGMENT IN FAVOR OF
                 16                                                DEFENDANT ORANGE COUNTY
                           UNITED STATES’ SMALL                    INLAND EMPIRE SMALL BUSINESS
                 17                                                DEVELOPMENT CENTER
                           BUSINESS ADMINISTRATION,                NETWORK
                 18        MICHAEL DANIEL, ORANGE
                           COUNTY INLAND EMPIRE
                 19        SMALL BUSINESS
                           DEVELOPMENT CENTER
                 20        NETWORK, AMERICA’S SBDC,
                           AMERICA’S SMALL BUSINESS
                 21        DEVELOPMENT CENTER
                           NETWORK, CHRISTOPHER
                 22        LORENZANA and AL GOHARY,
                 23                           Defendants.
                 24

                 25

                 26

                 27

                 28
K UTAK R OCK LLP
 ATTO RNEY S AT LAW                                                -1-             5:20-cv-01280-SVW-KK
       IRVINE


                          4818-4837-9903.1
Case 5:20-cv-01280-SVW-KK Document 166 Filed 10/26/21 Page 2 of 2 Page ID #:2442
